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 1   BURSOR & FISHER, P.A.
     L. Timothy Fisher (State Bar No. 191626)
 2   Blair E. Reed (State Bar No. 316791)
     1990 North California Blvd., Suite 940
 3   Walnut Creek, CA 94596
     Telephone: (925) 300-4455
 4   Facsimile: (925) 407-2700
     E-mail: ltfisher@bursor.com
 5            breed@bursor.com
 6   Attorneys for Plaintiffs
 7
                                   UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9

10   RICK MUSGRAVE, MARGARET GRAY, and              Case No. 4:18-cv-02841-JSW
     DAVID NEAL individually and on behalf of all
11   others similarly situated,                     [PROPOSED] ORDER GRANTING
12                                                  JOINT ADMINISTRATIVE MOTION
                                Plaintiffs,         TO EXTEND CLASS CERTIFICATION
13                                                  BRIEFING SCHEDULE [L.R. 6-3 AND
                    v.                              7-11] AS MODIFIED HEREIN
14
     TAYLOR FARMS PACIFIC, INC., TAYLOR
15
     FARMS RETAIL, INC., and TAYLOR FARMS           The Honorable Jeffrey S. White
16   CALIFORNIA, INC.,

17                               Defendants.

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28   [PROPOSED] ORDER GRANTING JOINT ADMINISTRATIVE MOTION TO EXTEND CLASS
     CERTIFICATION BRIEFING SCHEDULE
     CASE NO. 4:18-cv-02841-JSW
Case 4:18-cv-02841-JSW Document 73 Filed 11/18/19 Page 2 of 2
